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                                                   January 17, 2023

 VIA ECF

 Special Master the Honorable Thomas Vanaskie
 Stevens & Lee
 1500 Market Street, East Tower
 18th Floor
 Philadelphia, PA 19103


          Re:        In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                     Case No. 1:19-md-02875-RBK-JS



 Dear Special Master Vanaskie:

          This letter is to provide Defendants’ positions with respect to the topics on the agenda for

 the Teleconference with Your Honor on January 19, 2023. The parties do not expect the need to

 discuss any confidential materials as part of these agenda items.

          1.         CMO 29 Case Schedule

          The parties jointly respectfully request that the Court issue an order modifying certain

 deadlines contained in Case Management Order No. 29 (“CMO 29”), ECF No. 2154, related to

 liability experts, and Case Management Order No. 30 (“CMO 30”), ECF No. 2190, related to

 damages experts, as set forth in the tables below.

 CMO 29 Deadlines

              Event                            Current Deadline                      Proposed New Deadline
  Daubert motions filed                   February 13, 2023                        February 27, 2023
  regarding liability experts
  Responsive briefs on Daubert            March 6, 2023                            March 20, 2023
  motions filed


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  Reply briefs on Daubert                 March 20, 2023                           April 3, 2023
  motions filed
  Dispositive motions filed               February 27, 2023                        March 13, 2023
  Responsive briefs on                    April 3, 2023                            April 17, 2023
  dispositive motions filed
  Reply briefs on dispositive             April 24, 2023                           May 8, 2023
  motions filed

 CMO 30 Deadlines

              Event                            Current Deadline                      Proposed New Deadline
  Plaintiff MSPRC to serve                January 20, 2023                         February 3, 2023
  expert report(s) concerning
  damages
  TPP Trial Defendants to                 March 10, 2023                           March 24, 2023
  serve expert report(s)
  concerning damages
  Deadline to complete experts’           April 10, 2023                           April 24, 2023
  depositions concerning
  damages
  Deadline for Rule                       April 17, 2023                           May 1, 2023
  702/Daubert motions on
  experts’ reports concerning
  damages
  Deadline for responsive briefs          May 8, 2023                              May 22, 2023
  to Rule 702/Daubert motions
  on experts’ reports
  concerning damages
  Deadline for reply briefs to            May 22, 2023                             June 5, 2023
  Rule 702/Daubert motions on
  experts’ reports concerning
  damages

          2.       Losartan/Irbesartan PFS Order

          At the December 14, 2022 status conference, the Court directed the parties to submit a

 proposed order entering the Amended Personal Injury Plaintiff’s Fact Sheet (“Amended PFS”) and

 identifying the plaintiffs who must complete the Amended PFS. Accordingly, the parties have met

 and conferred and have agreed on the attached proposed order. (Attached as Exhibit 1.)
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          3.       TPP Motion to Compel Briefing Completed

          Defendants note that briefing on the Motion to Compel Production of Documents and Data

 Relevant to Plaintiff's Alleged Damages and to Set Deadlines for Damages Experts (ECF No.

 2178), including Plaintiffs’ Brief (ECF No. 2181), has been completed as of October 20, 2022.




                                                                  Respectfully submitted,

                                                                  /s/ Lori G. Cohen

                                                                  Lori G. Cohen


 cc:      Adam Slater, Esq. (via email, for distribution to Plaintiffs’ Counsel)
          Jessica D. Miller, Esq. (via email, for distribution to Defendants’ Counsel)
          Clem C. Trischler, Esq. (via email)
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